 Case 1:23-cr-00026-JMB ECF No. 38, PageID.72 Filed 01/19/24 Page 1 of 29
                                                                              1


 1
                         IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
 3

 4
         UNITED STATES OF AMERICA,
 5
                            Plaintiff,
 6
         vs.                                            Case No: 1:23-cr-26
 7
         DONNA JEAN SCHUCKER,
 8
                    Defendant.
 9       _______________________________/

10                                    PLEA HEARING

11                     BEFORE THE HONORABLE SALLY J. BERENS
                               U.S. MAGISTRATE JUDGE
12
                                Grand Rapids, Michigan
13                                December 20, 2023

14       APPEARANCES:
         For the Plaintiff:       MR. DAVIN REUST
15                                The Law Building
                                  330 Ionia Avenue, NW
16                                Grand Rapids, MI 49501-0208
                                  (616) 456-2404
17
         For the Defendant:       MS. HELEN C. NIEUWENHUIS
18                                50 Louis Street NW, Suite 300
                                  Grand Rapids, Mi 49503-2633
19                                (616) 742-7420

20

21
         TRANSCRIBED BY:          Genevieve A. Hamlin, CSR-3218 RMR, CRR
22                                Federal Official Court Reporter
                                  110 Michigan Avenue NW
23                                Suite 601
                                  Grand Rapids, MI 49503
24                                (517) 881-9582

25
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.73 Filed 01/19/24 Page 2 of 29
                                                                                2


 1     Grand Rapids, MI

 2     December 20, 2023

 3     3:05 p.m.

 4                                    PROCEEDINGS

 5                 THE CLERK:   Court calls case number 23-cr-26, United

 6     States versus Donna Jean Schucker.

 7                 THE COURT:   Good afternoon, everyone.       We are on the

 8     record this afternoon for a second try for a change of plea

 9     hearing in this case.      Let's start with appearance of counsel.

10                 MR. REUST:   Good afternoon, Your Honor.       Davin Reust

11     for the United States.

12                 MS. NIEUWENHUIS:    Good afternoon.     Helen Nieuwenhuis

13     on behalf of Ms. Schucker, and she's here as well seated to my

14     right.

15                 THE COURT:   Good afternoon to both of you.

16                 THE DEFENDANT:     Good afternoon.

17                 THE COURT:   Ms. Nieuwenhuis, does your client wish to

18     proceed?

19                 MS. NIEUWENHUIS:    Yes, she does, Your Honor.

20                 THE COURT:   All right.    We talked about a lot, in

21     fact, everything that I'm going to have to repeat again today,

22     at our last hearing.      I might try to shorten that just a

23     little bit but I don't know if I can in most respects, but,

24     Ms. Schucker, do you remember clearly that plea hearing which

25     was only a couple weeks ago?
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.74 Filed 01/19/24 Page 3 of 29
                                                                             3


 1                THE DEFENDANT:     Yes, I do.

 2                THE COURT:    All right.    And do you remember all the

 3     things we talked about at that hearing?

 4                THE DEFENDANT:     Yes, I do.

 5                THE COURT:    And do you understand everything we

 6     talked about in that hearing?

 7                THE DEFENDANT:     Yes, I do.

 8                THE COURT:    And we -- one of the things we talked

 9     about was that you have the right to have a district court

10     judge conduct this hearing.       Do you remember that as well?

11                THE DEFENDANT:     Yes.

12                THE COURT:    And do you remember the difference

13     between a district court judge and magistrate judge?

14                THE DEFENDANT:     Yes.

15                THE COURT:    All right.    And it is still your

16     intention and free will decision to consent to my conducting

17     this hearing today?

18                THE DEFENDANT:     Yes.

19                THE COURT:    All right.    Up on the screen we have the

20     Court's consent form which explains a lot of those things as

21     well.   Is that your signature on the form?

22                THE DEFENDANT:     Yes, it is.

23                THE COURT:    And did you read and understand that form

24     before you signed it?

25                THE DEFENDANT:     Yes.
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.75 Filed 01/19/24 Page 4 of 29
                                                                            4


 1                 THE COURT:   So it is your decision to consent to my

 2     conducting this hearing today?

 3                 THE DEFENDANT:    Yes.

 4                 THE COURT:   And I'm also required to ask if counsel

 5     consents.

 6                 MS. NIEUWENHUIS:     Yes, Your Honor.

 7                 MR. REUST:   Yes, Your Honor.

 8                 THE COURT:   All right.    I do find that that is a

 9     knowing and voluntary decision by the defendant to consent to

10     my conducting this hearing.

11                 We also talked a little bit about your competency

12     last time, and I remember some of your answers to that but I

13     suppose I should ask you if anything is bothering you today

14     physically or mentally that would make it difficult for you to

15     understand what's happening in court?

16                 THE DEFENDANT:     No, not at all.

17                 THE COURT:   Okay.   And have you taken any medication,

18     other drugs, or alcohol in the last 24 hours?

19                 THE DEFENDANT:    Nothing other than medication that

20     I'm prescribed.

21                 THE COURT:   Okay.   And we talked about that a little

22     bit the last time, too, I believe, right?

23                 THE DEFENDANT:     (Non-verbal response).

24                 THE COURT:   You have to say yes or no.

25                 THE DEFENDANT:     I'm sorry, yes.
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.76 Filed 01/19/24 Page 5 of 29
                                                                             5


 1                THE COURT:    All right.    And, Ms. Nieuwenhuis, do you

 2     have any reason to believe that she's not competent to proceed

 3     today?

 4                MS. NIEUWENHUIS:     No, Your Honor.

 5                THE COURT:    She also certainly appears to me to be

 6     understanding what I'm saying and responding appropriately, so

 7     we will proceed.

 8                I think you will recall that I told you the last time

 9     that you have the right to counsel at every stage of the

10     proceedings against you.      Do you remain satisfied with Ms.

11     Nieuwenhuis' representation of you?

12                THE DEFENDANT:     Yes.

13                THE COURT:    I also told you back then that you have

14     the right to remain silent and anything you do say could be

15     used against you at your trial in this matter, but if you

16     decide to plead guilty, you'll be giving up that right because

17     I'll be asking you questions about what you did that makes you

18     guilty of this crime.      Do you understand all of that?

19                THE DEFENDANT:     Yes.

20                THE COURT:    And is it your intention to give up your

21     right to remain silent in order -- for the purposes of

22     entering a guilty plea today?

23                THE DEFENDANT:     Yes.

24                THE COURT:    All right.    My courtroom deputy is going

25     to swear you in.
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.77 Filed 01/19/24 Page 6 of 29
                                                                                 6


 1                THE CLERK:    Please raise your right hand.

 2                              DONNA JEAN SCHUCKER,

 3         having been sworn by the Clerk at 3:08 p.m., testified as

 4                                     follows:

 5                THE DEFENDANT:     I do.

 6                THE COURT:    All right.    So you've just sworn to tell

 7     the truth, and that means that if you were to make a false

 8     statement, the government would have the right to use that

 9     false statement against you in any subsequent prosecution for

10     perjury or making a false statement.         Do you understand that?

11                THE DEFENDANT:     Yes.

12                THE COURT:    Have you had an opportunity to review the

13     superseding felony information with your lawyer?

14                THE DEFENDANT:     Yes, I did.

15                THE COURT:    All right.    Do you have it in front of

16     you there?

17                THE DEFENDANT:     Yes.

18                THE COURT:    So, you are charged slightly differently

19     in this superseding felony information than in the prior

20     superseding felony -- I mean, prior felony information.              In

21     the prior felony information you were charged with concealing

22     a material fact under 18 United States Code

23     Section 1001(a)(1).      In the superseding felony information

24     you're charged with making a materially false statement in

25     violation of 18 United States Code Section 1001(a)(2), and
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.78 Filed 01/19/24 Page 7 of 29
                                                                               7


 1     specifically what's alleged is that on or about September 7th

 2     of 2022 in Lake County, which is in this judicial district,

 3     that you knowingly and willfully made a materially false,

 4     fictitious, and fraudulent statement in a matter related to an

 5     offense under Chapter 109A of Title 18 United States Code

 6     which was within the jurisdiction of the executive branch of

 7     the United States.      Specifically, you responded no when asked

 8     by special agents of the Department of Justice Office of

 9     Inspector General, have you ever had sex with an inmate.             This

10     is alleged that that was a lie because in June and July of

11     2022 you had sex with an inmate while she was working as a --

12     while you were working as a case manager at the Northlake

13     Correctional Facility.

14                Do you understand what you've been charged with in

15     the superseding felony information?

16                THE DEFENDANT:     Yes, I do.

17                THE COURT:    There are certain elements that the

18     government would have to prove for you to be guilty of that

19     offense.    They would have to prove a number of elements.

20     First, they would have to prove that you made a statement.

21     Second, that the statement was false.         Third, that the

22     statement was material, meaning that it mattered to the person

23     you were saying it to.      Fourth, that you acted knowingly and

24     willfully, and, fifth, that the statement pertained to the

25     matter within the jurisdiction of the executive branch of the
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.79 Filed 01/19/24 Page 8 of 29
                                                                             8


 1     United States and related to an offense under Chapter 109A of

 2     Title 18 of the United States Code.

 3                Do you understand what the elements are that the

 4     government would have to prove for you to be guilty of this

 5     offense?

 6                THE DEFENDANT:     Yes, I do.

 7                THE COURT:    There are certain statutory penalties

 8     that are associated with this offense.         They are the same as

 9     what we discussed before.       You face up to eight years in

10     prison -- up to eight years in prison, a maximum fine of

11     $250,000, a maximum period of supervised release of three

12     years, special assessment of a hundred dollars, and you could

13     be subject to restitution.       I don't believe that was listed in

14     the prior penalty sheet.      Is there restitution that is

15     contemplated in this case?

16                MR. REUST:    It may not have been, but there is, Your

17     Honor.

18                THE COURT:    All right, thank you.

19                MR. REUST:    I think it was in the plea agreement but

20     it may not have been --

21                THE COURT:    All right.    Ms. Schucker, do you

22     understand what the penalties could be in your case?

23                THE DEFENDANT:     Yes, I do.

24                THE COURT:    We talked last time a little bit about

25     supervised release.      Supervised release is a period of time
 Case 1:23-cr-00026-JMB ECF No. 38, PageID.80 Filed 01/19/24 Page 9 of 29
                                                                            9


 1     following incarceration in which a defendant is under the

 2     supervision of the Court.       If a defendant violates a term of

 3     her supervised release, she could be sent back to prison, and

 4     in some circumstances that could result in someone spending

 5     more time in prison than what is called for by the statutory

 6     maximum of the offense.      Do you understand the concept of

 7     supervised release?

 8                 THE DEFENDANT:    Yes, I do.

 9                 THE COURT:   And you told me before but I want to

10     reconfirm, has Ms. Nieuwenhuis talked to you about the

11     sentencing guidelines?

12                 THE DEFENDANT:    Yes, she has.

13                 THE COURT:   And you understand that the guidelines

14     are advisory, but the Court has to calculate them and consider

15     them in determining your sentence; is that correct?

16                 THE DEFENDANT:    Yes.

17                 THE COURT:   And in this case only Judge Beckering can

18     ultimately determine your guidelines, and after -- we

19     discussed before that a pre-sentence report would be prepared

20     and a probation officer would do an initial calculation of

21     your guidelines.     Both you and the government will have the

22     opportunity to review that and to object to it, and Judge

23     Beckering won't be able to make a determination about your

24     advisory guidelines sentence range until all of that has

25     happened.    Do you understand all of that?
Case 1:23-cr-00026-JMB ECF No. 38, PageID.81 Filed 01/19/24 Page 10 of 29
                                                                            10


 1                THE DEFENDANT:    Yes, I do.

 2                THE COURT:    And the Court, Judge Beckering, would

 3    also consider any possible departures under the sentencing

 4    guidelines and will also consider the applicable sentencing

 5    factors that are set out in 18 United States Code 3553(a),

 6    like the nature and circumstances of the offense, your history

 7    and characteristics, the need for the sentence imposed, and

 8    the kinds of sentences available, including the need for

 9    restitution.     Do you understand all of that?

10                THE DEFENDANT:    Yes, I do.

11                THE COURT:    And do you feel like you've had enough

12    time to talk with Ms. Nieuwenhuis about any of that such that

13    you have all of your questions answered?

14                THE DEFENDANT:    Yes, I do.

15                THE COURT:    Judge Beckering has the authority to

16    impose a sentence that is more or less severe than what's

17    called for by the guidelines.        Do you understand that, too?

18                THE DEFENDANT:    Yes.

19                THE COURT:    And has anyone made you any promises

20    about what your sentence will be?

21                THE DEFENDANT:    No.

22                THE COURT:    That's good, because if your sentence is

23    more severe than you think it might be, you'll still be bound

24    by your plea and you won't be able to withdraw on that basis.

25    Do you understand that, too?
Case 1:23-cr-00026-JMB ECF No. 38, PageID.82 Filed 01/19/24 Page 11 of 29
                                                                            11


 1                THE DEFENDANT:    Yes.

 2                THE COURT:    Parole in the federal system has been

 3    abolished.    If you're sentenced to prison, you won't be

 4    released early on parole.       Do you understand that, too?

 5                THE DEFENDANT:    Yes.

 6                THE COURT:    And if you are convicted of a felony, and

 7    this would be a felony, you may be deprived of certain civil

 8    rights, including the rights to vote, to hold office, to serve

 9    on a jury, and to possess firearms.         Do you understand that,

10    too?

11                THE DEFENDANT:    Yes.

12                THE COURT:    And I think we decided that she was -- or

13    discussed -- not decided but discussed that she was a United

14    States citizens and not on any sort of probation or parole; is

15    that correct, Ms. Nieuwenhuis?

16                MS. NIEUWENHUIS:     It is correct.

17                THE COURT:    All right.    Do you understand all of the

18    penalties we just discussed, Ms. Schucker?

19                THE DEFENDANT:    Yes.

20                THE COURT:    Do you have any questions about any of

21    that?

22                THE DEFENDANT:    No.

23                THE COURT:    Do you have any questions about the

24    advisory sentencing guidelines and how that's calculated?

25                THE DEFENDANT:    No.    She explained it to me.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.83 Filed 01/19/24 Page 12 of 29
                                                                             12


 1                THE COURT:    All right.    In some circumstances,

 2    although we'll talk about this a little bit more in connection

 3    with the amended plea agreement, but both you and the

 4    government in some circumstances would have a right to appeal

 5    your sentence.     Do you understand that, too?

 6                THE DEFENDANT:    Yes.

 7                THE COURT:    I'm going to switch gears and talk to you

 8    a little bit about your rights.         You are intending here to

 9    plead guilty to a superseding felony information.           You have

10    the right to be indicted rather than pleading to an

11    information.     An information is a charge that's laid out by

12    the prosecutor.     You have the right, though, to have that

13    charged reviewed by a grand jury.

14                A grand jury is between 16 and 23 people, different

15    people than would be the trial jury in your case, who are

16    charged with reviewing the charges that the government wishes

17    to bring and a majority of whom have to agree there's probable

18    cause to support the charge.         Do you understand the concept of

19    indictment?

20                THE DEFENDANT:    Yes.

21                THE COURT:    And is it your intention to waive your

22    right to indictment?

23                THE DEFENDANT:    Yes.

24                THE COURT:    Has anyone threatened, coerced, or

25    promised you anything to get you to give up your right to
Case 1:23-cr-00026-JMB ECF No. 38, PageID.84 Filed 01/19/24 Page 13 of 29
                                                                            13


 1    indictment?

 2                THE DEFENDANT:    No.

 3                THE COURT:    And up on the screen we have the Court's

 4    waiver of an indictment form.        Is that your signature on the

 5    form -- on that form?

 6                THE DEFENDANT:    Yes, it is.

 7                THE COURT:    And did you read and understand that form

 8    before you signed it?

 9                THE DEFENDANT:    Yes, I did.

10                THE COURT:    Okay.   You have the right to plead not

11    guilty and to persist in that plea and take this case to

12    trial.    You have the right to a trial by jury with the

13    assistance of your lawyer who, as you know, if necessary,

14    would be appointed to represent you.

15                You have the right to at least 30 days to prepare for

16    a trial -- and I should have said, if necessary, to be

17    appointed to represent you at no cost to you.           You have at

18    least 30 days to prepare for a trial and the right to confront

19    and cross examine the witnesses that are called against you.

20    Do you understand all of that?

21                THE DEFENDANT:    Yes.

22                THE COURT:    You have the right to call witnesses on

23    your own behalf and to compel their attendance with something

24    called a subpoena, which is just a court order that would

25    require them to attend.       You have the right not to be
Case 1:23-cr-00026-JMB ECF No. 38, PageID.85 Filed 01/19/24 Page 14 of 29
                                                                            14


 1    compelled to incriminate yourself and the right not to

 2    testify, and if you decided not to testify, Judge Beckering

 3    would instruct the jury that they could not hold that against

 4    you.   Do you understand all of that?

 5                THE DEFENDANT:    Yes.

 6                THE COURT:    You also have the right to testify and

 7    present evidence on your own behalf, although you're under no

 8    obligation to do that because you're presumed innocent of this

 9    charge and all these charges, and the government and only the

10    government has the burden of proving you guilty on each charge

11    beyond a reasonable doubt.       Do you understand all of that?

12                THE DEFENDANT:    Yes.

13                THE COURT:    If you plead guilty there will be no

14    trial of any kind and you'll be waiving your right to a trial.

15    You'll be waiving all the rights that I've just explained

16    except, of course, to have Ms. Nieuwenhuis with you throughout

17    these proceedings.       Do you understand all of the rights I just

18    explained?

19                THE DEFENDANT:    Yes.

20                THE COURT:    All right.    So to sum up where we are, do

21    you understand the nature of the charge in the superseding

22    felony indictment -- information, excuse me, the penalties

23    provided by law, and your rights as I've explained them to you

24    both today and two weeks ago?

25                THE DEFENDANT:    Yes, I do.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.86 Filed 01/19/24 Page 15 of 29
                                                                            15


 1                THE COURT:    Or however long ago.      And, again, Ms.

 2    Schucker, have you had enough time to think about it and talk

 3    about with your lawyer what is a very important decision for

 4    your life today?

 5                THE DEFENDANT:    Yes, I have.

 6                THE COURT:    And do you feel ready to make that

 7    decision?

 8                THE DEFENDANT:    Yes.    I do.

 9                THE COURT:    In that case, how do you plead to the

10    charge in the superseding felony information charging making a

11    materially false statement?

12                THE DEFENDANT:    Guilty.

13                THE COURT:    Has anyone threatened you to get you to

14    plead guilty?

15                THE DEFENDANT:    No.

16                THE COURT:    Anyone forcing you to plead guilty?

17                THE DEFENDANT:    No.

18                THE COURT:    Anyone made any promises apart from

19    what's in the plea agreement?

20                THE DEFENDANT:    No.

21                THE COURT:    Is your choice purely voluntary and an

22    act of free will?

23                THE DEFENDANT:    Yes.

24                THE COURT:    And, again, do you feel like you've had

25    adequate time to think about it and talk about it with your
Case 1:23-cr-00026-JMB ECF No. 38, PageID.87 Filed 01/19/24 Page 16 of 29
                                                                                16


 1    lawyer?

 2                THE DEFENDANT:    Yes.

 3                THE COURT:    All right.    I understand that there is an

 4    amended plea agreement which is filed at ECF number 31.               It's

 5    nine pages long.      Do you have that in front of you there, Ms.

 6    Schucker?

 7                THE DEFENDANT:    Yes.

 8                THE COURT:    And is that your signature on page nine

 9    of this agreement?

10                THE DEFENDANT:    Yes.

11                THE COURT:    And did you read and understand this

12    whole agreement before you signed it?

13                THE DEFENDANT:    Yes.

14                THE COURT:    Did you talk with your lawyer about it

15    and was she able to answer any questions you had about this

16    agreement?

17                THE DEFENDANT:    Yes.

18                THE COURT:    And so you agree with everything that's

19    in these nine pages?

20                THE DEFENDANT:    Yes, I do.

21                THE COURT:    All right.    It says that -- the paragraph

22    above your name says, I have read this agreement and carefully

23    discussed every part of it with my lawyer, my attorney.               I

24    understand the terms of this agreement and I voluntarily agree

25    to those terms.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.88 Filed 01/19/24 Page 17 of 29
                                                                            17


 1                My attorney has advised me of my rights, of possible

 2    defenses, of the sentencing provisions, and of the

 3    consequences of entering into this agreement.

 4                No promises or inducements have been made to me other

 5    than those contained in this agreement.          No one has threatened

 6    or forced me in any way to enter into this agreement.

 7                Finally, I'm satisfied with the representation of my

 8    attorney in this matter.

 9                Was all of that true when you signed this agreement?

10                THE DEFENDANT:    Yes.

11                THE COURT:    And is it true today?

12                THE DEFENDANT:    Yes.

13                THE COURT:    And did you sign this agreement on or

14    about December 13th of 2023?

15                THE DEFENDANT:     Yes, I did.

16                THE COURT:    All right.    I would note that I also see

17    Mr. Reust's signature at the top of the page and, Ms.

18    Nieuwenhuis, that's your signature at the bottom?

19                MS. NIEUWENHUIS:     It is, Your Honor.

20                THE COURT:    All right.    At this point I'm going to

21    ask the government to place on the record whatever portions of

22    the amended plea agreement it thinks should be memorialized in

23    open court, skipping over what I have covered and the factual

24    basis for now.     At the end of that I'm going to ask you some

25    questions about that.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.89 Filed 01/19/24 Page 18 of 29
                                                                             18


 1                MR. REUST:    I'm going to begin on page 4 of the

 2    amended plea agreement, Your Honor.

 3                Paragraph 7 states that the United States agrees to

 4    dismiss the underlying indictment at the time of Ms.

 5    Schucker's sentencing.

 6                Paragraph 8 says that if Ms. Schucker qualifies, the

 7    United States would intend to move for an additional one level

 8    off of her offense level if the adjusted offense level is 16

 9    or greater.

10                Turning to paragraph -- or page 5, I'm sorry,

11    paragraph 10 states that the parties have no agreement about

12    the final sentencing guidelines range.

13                Paragraph 11, and this is important to the

14    government, it states that Ms. Schucker agrees not to seek or

15    obtain future employment in any facility that serves as a

16    correctional institution, including any prison, jail, halfway

17    house, or reentry center.

18                Going on to page 6, waiver of other rights.          The

19    Court has already alluded to this, but this is an appellate

20    waiver, and it states generally in sub-paragraph A that Ms.

21    Schucker agrees to waive all appellate rights except for those

22    explicitly reserved in sub-paragraph B, and those ones that

23    are reserved in sub-paragraph B are, first, that defendant's

24    sentence on any count of conviction exceeded the statutory

25    maximum; second, on page 7, that defendant's sentence was
Case 1:23-cr-00026-JMB ECF No. 38, PageID.90 Filed 01/19/24 Page 19 of 29
                                                                            19


 1    based on unconstitutional factors such as race, religion,

 2    national origin, or gender; third, that the guilty plea was

 3    involuntary or unknowing; or, five (sic), that an attorney who

 4    represented the defendant during the course of the criminal

 5    case provided constitutionally ineffective assistance of

 6    counsel.

 7                Paragraph 14 states that Ms. Schucker agrees to not

 8    make FOIA requests for the underlying investigative materials

 9    in this case.

10                Paragraph 15 states that the Court is not a party to

11    the agreement.

12                Turning to page 8, paragraph 16 outlines that this

13    agreement is limited to the parties.         Specifically, that I can

14    only bind the U.S. Attorney's Office for the Western District

15    of Michigan and not any other branches of the U.S. Attorney's

16    office.

17                Paragraph 17 outlines that if Ms. Schucker were to

18    breach the plea agreement, the parties would be placed in

19    their pre-plea agreement position and the United States could

20    bring any charges that were warranted.

21                And then paragraph 18 states this is the complete

22    agreement.

23                THE COURT:    Thank you.    Ms. Schucker, did you hear

24    everything that Mr. Reust just said?

25                THE DEFENDANT:    I did.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.91 Filed 01/19/24 Page 20 of 29
                                                                              20


 1                THE COURT:    And do you disagree with anything that

 2    Mr. Reust just said?

 3                THE DEFENDANT:    Do I disagree?

 4                THE COURT:    Do you disagree?

 5                THE DEFENDANT:    No, I don't disagree with anything.

 6                THE COURT:    All right.    Couple of points just so that

 7    you are -- I want to make sure that you are aware of.            You

 8    heard him say that by agreeing to this plea agreement,

 9    pleading guilty to this charge, you won't be able to seek or

10    obtain future employment in any sort of correctional

11    institution, including halfway houses or reentry centers.              Do

12    you understand that?

13                THE DEFENDANT:    Yes.

14                THE COURT:    And prisons and jails obviously, too.         Do

15    you understand that, too?

16                THE DEFENDANT:    Yes.

17                THE COURT:    All right.    And in addition you are

18    agreeing to waive virtually all of your appeal rights.            You

19    have some un-waivable rights, and this is both for a direct

20    appeal of your sentence but also a -- any sort of collateral

21    attack or habeas petition that you could file down the road,

22    which would be a civil or collateral attack on your sentence

23    or conviction.

24                Do you understand that you are giving up essentially

25    all of those rights?
Case 1:23-cr-00026-JMB ECF No. 38, PageID.92 Filed 01/19/24 Page 21 of 29
                                                                             21


 1                THE DEFENDANT:      Yes.

 2                THE COURT:    All right.     Do you think you've been

 3    promised, Ms. Schucker, anything that is not in the amended

 4    plea agreement?

 5                THE DEFENDANT:      No.

 6                THE COURT:    All right.     Ms. Nieuwenhuis, anything

 7    else you want to put on the record about the plea agreement?

 8                MS. NIEUWENHUIS:     No, Your Honor.     Thank you.

 9                THE COURT:    And are you aware of any side agreements?

10                MS. NIEUWENHUIS:     I am not, Your Honor.

11                THE COURT:    Mr. Reust, are you?

12                MR. REUST:    No.   There are none, Your Honor.

13                THE COURT:    All right.     So, one more time, do you

14    feel you've had adequate time to review the plea agreement and

15    talk about it with your lawyer before agreeing to it?

16                THE DEFENDANT:      Yes.

17                THE COURT:    Now, only Judge Beckering can decide

18    whether to accept or reject the plea agreement, which she'll

19    do at the time of sentencing.          Do you understand that, too?

20                THE DEFENDANT:      Yes.

21                THE COURT:    All right.     Then what remains is for us

22    to determine that there is a factual basis for the plea,

23    meaning that you actually did the crime that you're guilty of,

24    which is important and was the hang up last time, so you

25    understand that it's important.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.93 Filed 01/19/24 Page 22 of 29
                                                                             22


 1                There is a factual basis of guilt set out in the plea

 2    agreement -- the amended plea agreement.          Mr. Reust, I don't

 3    know if you want to just walk through that or if you have

 4    something else you want to add to that or subtract from that,

 5    but I'll let you put the factual basis on the record.

 6                MR. REUST:    I would just walk through that, Your

 7    Honor.

 8                So, reading the relevant portions of paragraph 6 of

 9    the plea agreement which appears on page 3 and I think

10    continues over to page 4, in June and July of 2022 the

11    defendant engaged in a sexual relationship with an inmate at

12    the Northlake Correctional Facility in Baldwin, Michigan,

13    where she was employed as a case manager.          She had intercourse

14    with that inmate on multiple occasions.

15                On September 7th of 2022 the defendant was

16    interviewed by special agents of the Department of Justice

17    Office of Inspector General at the Northlake Correctional

18    Facility.    Investigators asked the defendant, quote, have you

19    ever had sex with an inmate, end quote.          The defendant

20    responded, quote, no, end quote.

21                That was a lie and defendant knew it was a lie.

22    Prior to speaking with those investigators the defendant was

23    informed that lying to the investigators was a violation of

24    federal law.     Defendant's intentionally false statement was

25    material to the Department of Justice Office of Inspector
Case 1:23-cr-00026-JMB ECF No. 38, PageID.94 Filed 01/19/24 Page 23 of 29
                                                                            23


 1    General because it was relevant to their underlying

 2    investigation into sex with an inmate.

 3                At the time defendant had sex with the inmate and

 4    during her interview the Northlake Correctional Facility was a

 5    federally contracted facility where Bureau of Prisons' inmates

 6    were held so the United States had jurisdiction over matters

 7    occurring there.

 8                THE COURT:    And is it also fair to say that the crime

 9    they were investigating was within Chapter 109A of Title 18?

10                MR. REUST:    That's correct, Your Honor.       Sexual abuse

11    of a ward.

12                THE COURT:    Sexual abuse of a ward under 18 United

13    States Code 2243(b)?      All right.

14                Ms. Schucker, did you hear everything that Mr. Reust

15    just said?

16                THE DEFENDANT:    Yes, I did.

17                THE COURT:    Do you agree with everything that Mr.

18    Reust just said?

19                THE DEFENDANT:    Yes, I do.

20                THE COURT:    All right.    In June and July of 2022 did

21    you have a sexual relationship with an inmate at the Northlake

22    Correctional Facility in Baldwin, Michigan?

23                THE DEFENDANT:    Yes, I did.

24                THE COURT:    And that person was an inmate at the

25    time?
Case 1:23-cr-00026-JMB ECF No. 38, PageID.95 Filed 01/19/24 Page 24 of 29
                                                                            24


 1                THE DEFENDANT:    Yes.

 2                THE COURT:    And at that time you were a case manager

 3    there?

 4                THE DEFENDANT:    Yes.

 5                THE COURT:    On September 7th of 2022 were you

 6    interviewed by special agents of the Department of Justice

 7    Office of Inspector General?

 8                THE DEFENDANT:    Yes.

 9                THE COURT:    And did that interview happen at the

10    Northlake Correctional Facility?

11                THE DEFENDANT:    Yes.

12                THE COURT:    Which is in this judicial district, I

13    assume.    It's Lake -- is it Lake County?

14                MS. NIEUWENHUIS:     Yes.

15                THE DEFENDANT:    Yes.

16                THE COURT:    All right.    And they asked you have you

17    ever had sex with an inmate?         Did they ask you that?

18                THE DEFENDANT:    Yes.

19                THE COURT:    And you responded, no?

20                THE DEFENDANT:    Yes, I did.

21                THE COURT:    And did you know that that was a lie at

22    the time?

23                THE DEFENDANT:    Yes, I did.

24                THE COURT:    All right.    And they had informed you

25    that lying to investigators is a violation of federal law?
Case 1:23-cr-00026-JMB ECF No. 38, PageID.96 Filed 01/19/24 Page 25 of 29
                                                                            25


 1                THE DEFENDANT:    Yes.

 2                THE COURT:    And that will -- you agree that that

 3    false statement was material to their investigation of whether

 4    or not you should be charged with sexual abuse of a ward?

 5                THE DEFENDANT:    Yes.

 6                THE COURT:    And that's what was charged in your

 7    original indictment; do you recall that?

 8                THE DEFENDANT:    Yes.

 9                THE COURT:    All right.    Well, at all times relevant

10    to this charge, so June and July and September of 2022 the

11    Northlake Correctional Facility was a federally contracted

12    facility, correct?

13                THE DEFENDANT:    Yes.

14                THE COURT:    At least, you don't agree with that?

15                THE DEFENDANT:    No, I don't disagree.      I just had to

16    try and think when they closed it down but, yes, it was

17    still --

18                THE COURT:    All right.    And Bureau of Prisons'

19    inmates were held there at the time?

20                THE DEFENDANT:    Yes.

21                THE COURT:    Mr. Reust, are you satisfied there's a

22    factual basis?

23                MR. REUST:    Yes, Your Honor.

24                THE COURT:    Ms. Nieuwenhuis, are you?

25                MS. NIEUWENHUIS:     I am, yes, Your Honor.
Case 1:23-cr-00026-JMB ECF No. 38, PageID.97 Filed 01/19/24 Page 26 of 29
                                                                            26


 1                THE COURT:    Thank you.    I am as well, and I'll make

 2    the following findings:

 3                I find that the defendant understands the nature of

 4    the charge and the penalties provided by law.           I find that the

 5    plea is made knowingly and with full understanding of each of

 6    the rights that I've explained.        I find that the plea is

 7    voluntary and free of any force, threats, or promises apart

 8    from what's in the plea agreement.         I find also, as I said,

 9    that the plea has a sufficient factual basis.

10                I will defer acceptance of the plea agreement to

11    Judge Beckering which decision will be made after she's had an

12    opportunity to review the pre-sentence report, and I will

13    recommend that Judge Beckering accept the plea and adjudicate

14    you guilty.

15                The parties will have 14 days from the service of my

16    report and recommendation to make any objections to it.

17                So, the next thing that will happen is Judge

18    Beckering's case manager will set a sentencing hearing.

19    Usually those run three to four months out.          Probably a little

20    closer to four these days, is that fair to say?

21                THE CLERK:    Yes.

22                THE COURT:    In the meantime, between now and then Ms.

23    Nieuwenhuis will need your help in order to provide the

24    information to the probation officer who will draft that

25    pre-sentence report that we've discussed at length now, so she
Case 1:23-cr-00026-JMB ECF No. 38, PageID.98 Filed 01/19/24 Page 27 of 29
                                                                            27


 1    will be in contact with you regularly and need your assistance

 2    in preparing for that.

 3                Do you understand, Ms. Schucker, everything that

 4    happened in court today?

 5                THE DEFENDANT:    Yes, I do.

 6                THE COURT:    Do we need to address bond in any

 7    respect?

 8                MR. REUST:    I don't believe so, Your Honor.

 9                THE COURT:    All right.    You're going to stay on bond

10    pending sentencing.      It is important that you keep the terms

11    of your bond in mind.      It can be a really stressful time for

12    people.    Right now you've just plead guilty to a felony and

13    you're awaiting sentencing, and that can sometimes cause

14    people to do crazy things, and I would advise you strongly

15    that violating your bond would be about the worst thing you

16    can do pending your sentencing in the case.          Do you understand

17    all of that?

18                THE DEFENDANT:    Yes, I do.

19                THE COURT:    Did you understand everything that

20    happened in court today?

21                THE DEFENDANT:    Yes, I do.

22                THE COURT:    And do you have any questions at all for

23    me?

24                THE DEFENDANT:    No, ma'am.

25                THE COURT:    Counsel, anything else we need to take
Case 1:23-cr-00026-JMB ECF No. 38, PageID.99 Filed 01/19/24 Page 28 of 29
                                                                            28


 1    up?   Ms. Nieuwenhuis?

 2                MS. NIEUWENHUIS:     No, Your Honor.     Thank you.

 3                THE COURT:    Mr. Reust?

 4                MR. REUST:    No, Your Honor.     Thank you.

 5                THE COURT:    Did I forget anything?

 6                MR. REUST:    Not that I noticed, Your Honor.

 7                THE COURT:    All right.    Then we'll be adjourned.

 8                THE CLERK:    All rise, please.     Court is adjourned.

 9                (Whereupon, hearing concluded at 3:29 p.m.)

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:23-cr-00026-JMB ECF No. 38, PageID.100 Filed 01/19/24 Page 29 of 29
                                                                             29


 1                              C E R T I F I C A T E

 2

 3                    I certify that the foregoing is a transcript from

 4       the Liberty Court Recording System digital recording of the

 5       proceedings in the above-entitled matter to the best of my

 6       ability.

 7

 8

 9

10                          /s/ Genevieve A. Hamlin
                            Genevieve A. Hamlin, CSR,RMR, CRR
11                          U.S. District Court Reporter
                            Grand Rapids, MI 49503
12

13

14

15

16

17

18

19

20

21

22

23

24

25
